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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

BROOKLYN DIVISION
IN RE
CHAPTER 13
TAGOR JAFFREY CHOWDHURI AKA
TAGOR J CHOWDHURI AKA TAGOR CASE NO. 18-41875
CHOWDHURI AKA TAGOR CHOUDHURI
AKA MOHAMMAD TAGOR JUDGE: Elizabeth S. Stong
DEBTOR

 

OBJECTION TO CONFIRMATION

Alexandros E. Tsionis, Esq., an attorney admitted to practice in this Court, affirms the
following under penalty of perjury:

1. I am an associate With Shapiro, DiCaro & Barak, LLC, attorney for Nationstar
Mortgage LLC as Servicer for Deutsche Bank Trust Company Americas, as Trustee for
Residential Accredit Loans, Inc., Mortgage Asset-Backed Pass-Through Certificates, Series
2006-QH1, and am familiar With the facts and circumstances surrounding this matter.

2. Deutsche Bank Trust Cornpany Americas, as Trustee for Residential Accredit
Loans, Inc., Mortgage Asset-Backed Pass-Through Certificates, Series 2006-QH1, holds a
mortgage on the Debtor’s real property known as 87-49 257th Street, Floral Park, NY 11001 (the
“Property”).

3. Nationstar Mortgage LLC d/b/a Mr. Cooper has filed a Proof of Claim for pre-
petition mortgage arrears in the amount of $147,058.73. Debtor’s proposed Chapter 13 Plan
makes no provision for full payment of the mortgage arrears in violation of Bankruptcy Code
Section 1325(a)(5)(B)(ii). Debtor’s proposed Chapter 13 plan does request participation in Loss

Mitigation. However the outcome of same is inherently uncertain and as such, said Plan fails to

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address the possibility of the failure of obtaining a mortgage modification or obtaining one With
different terms than those suggested in the Plan.

4. Further, the plan does not provide for the making of the regular monthly note and
mortgage payments by Debtor as required by 11 U.S.C. § 1322 O:))(S).

WHEREFORE, the undersigned respectfully requests the Debtor to amend their Chapter
13 Plan to reflect the proper mortgage arrears as specified earlier or, in the absence of an
amendment to the Plan, the undersigned respectfully requests an Order of this Court denying
confirmation of Debtor’s Chapter 13 Plan pursuant to Bankruptcy Code Section 1325 and such
other and further relief as may be just and proper.
Dated: May 22, 2018 Respectfully submitted,

/s/Alexana’ros Tsionis

Alexandros E. Tsionis

Bankruptcy Attorney

Shapiro, DiCaro & Baral<, LLC

Attomeys for Nationstar Mortgage LLC as Servicer
for Deutsche Bank Trust Company Americas, as
Trustee for Residential Accredit Loans, lnc.,
Mortgage Asset-Backed Pass-Through Certificates,
Series 2006-QH1

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